                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                      Case No. 22-40755

LYNN BETH BAUM,                                             Chapter 13

                Debtor.                                     Judge Thomas J. Tucker
                                                /

ORDER DENYING CREDITOR HOWARD BAUM’S CONTEMPT MOTION (DOCKET
   # 146), AND DENYING THE REQUEST BY THE FINDLING PARTIES FOR
                      SANCTIONS (DOCKET # 163)

         This case is before the Court on creditor Howard Baum’s motion filed on July 11, 2022,

entitled “Howard Baum’s Motion to Hold David Findling and the Findling Law Firm P.L.C. in

Contempt for Violation of this Court’s Order Disqualifying Them from Representing the Debtor”

(Docket # 146, the “Contempt Motion”). David Findling and The Findling Law Firm, PLC (the

“Findling Parties”) filed a response to the Contempt Motion on July 21, 2022, objecting to that

motion, and seeking an order “grant[ing] sanctions against Joseph Grekin[, the attorney for

Howard Baum),] and Howard Baum under Bank. R. 9011(c)(1)(B).” (Docket # 163 at 1-2, 12.)

         The Court concludes that a hearing on the Contempt Motion is unnecessary, and that such

motion must be denied, because none of the conduct by the Findling Parties that is described in

the Contempt Motion violated this Court's disqualification order (Docket # 121), or any other

order of this Court. The Court also concludes that sanctions under Fed. R. Bank. P. 9011, or

otherwise, are unwarranted.

         Accordingly,

         IT IS ORDERED that:

1. The Contempt Motion (Docket # 146) is denied.




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2. The request by David Findling and The Findling Law Firm, PLC for sanctions is denied.




Signed on July 25, 2022




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